                    Case 23-80799            Doc 1       Filed 07/03/23 Entered 07/03/23 14:13:31                              Desc Main
                                                           Document     Page 1 of 75

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Arch Cosmetics, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Arch Apothecary, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  214 East State Street
                                  Suite # 2
                                  Rockford, IL 61104
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Winnebago                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.archapothecary.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Arch Cosmetics, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Arch Cosmetics, Inc.                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Arch Cosmetics, Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 29, 2023
                                                  MM / DD / YYYY


                             X   /s/ Lindey Goodrich                                                      Lindey Goodrich
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Secretary




18. Signature of attorney    X   /s/ James E. Stevens                                                      Date June 29, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James E. Stevens 3128256
                                 Printed name

                                 Barrick, Switzer, Long, Balsley & Van Evera, LLP
                                 Firm name

                                 6833 Stalter Drive
                                 Rockford, IL 61108
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     815-962-6611                  Email address      jstevens@bslbv.com

                                 3128256 IL
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Arch Cosmetics, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 29, 2023                   X /s/ Lindey Goodrich
                                                           Signature of individual signing on behalf of debtor

                                                            Lindey Goodrich
                                                            Printed name

                                                            Secretary
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Arch Cosmetics, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           318,563.95

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           318,563.95


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           149,597.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            21,500.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           373,113.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             544,210.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Arch Cosmetics, Inc.

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Blackhawk Bank                                    Checking                              8481                                             $1.00




          3.2.     Blackhawk Bank                                    Savings                               7553                                     $1,341.95




          3.3.     Chase Bank                                        Checking                              3907                                       $130.00




          3.4.     Park Bank                                         Checking                              9901                                       $120.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,592.95
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       Arch Cosmetics, Inc.                                                         Case number (If known)
             Name



7.        Deposits, including security deposits and utility deposits

          Description, including name of holder of deposit
          7.1.



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

          Description, including name of holder of prepayment
          8.1.




9.        Total of Part 2.
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11a. 90 days old or less:                                    -                                          = ....
                                       face amount                          doubtful or uncollectible accounts




          11b. Over 90 days old:                                       -                                         =....
                                       face amount                          doubtful or uncollectible accounts




12.       Total of Part 3.
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                   Valuation method used     Current value of
                                                                                                   for current value         debtor's interest


14.       Mutual funds or publicly traded stocks not included in Part 1

          Name of fund or stock:


          14.1.



15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture

          Name of entity:                                                      % of ownership



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       Arch Cosmetics, Inc.                                                     Case number (If known)
             Name

          Name of entity:                                                   % of ownership


          15.1.                                                                          %



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

          Describe:


          16.1.




17.       Total of Part 4.
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of        Valuation method used     Current value of
                                            physical inventory       debtor's interest        for current value         debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Physical Inventory [Skin
          care products, Hair care
          products, Makeup
          products]                         April 30, 2023                          $0.00     Recent cost                        $301,971.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                   $301,971.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                     page 3
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Debtor       Arch Cosmetics, Inc.                                                       Case number (If known)
             Name

          General description                                           Net book value of      Valuation method used     Current value of
                                                                        debtor's interest      for current value         debtor's interest
                                                                        (Where available)

28.       Crops-either planted or harvested




29.       Farm animals Examples: Livestock, poultry, farm-raised fish




30.       Farm machinery and equipment (Other than titled motor vehicles)




31.       Farm and fishing supplies, chemicals, and feed




32.       Other farming and fishing-related property not already listed in Part 6




33.       Total of Part 6.
          Add lines 28 through 32. Copy the total to line 85.

34.       Is the debtor a member of an agricultural cooperative?
              No
              Yes. Is any of the debtor's property stored at the cooperative?
                        No
                        Yes

35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                          Current Value

36.       Is a depreciation schedule available for any of the property listed in Part 6?
              No
              Yes

37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
            No
            Yes

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                           Net book value of      Valuation method used     Current value of
                                                                        debtor's interest      for current value         debtor's interest
                                                                        (Where available)

39.       Office furniture
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                     page 4
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Debtor       Arch Cosmetics, Inc.                                                           Case number (If known)
             Name

          16 Makeup chairs
          4 Sitting Chairs
          8 Mirrors
          Various Light Fixtures
          Large Round Table
          Bookshelf
          Desk
          Chair                                                                           $0.00     Comparable sale                      $5,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          5 Facial Beds
          1 Hydrofacial Machnie
          8 Shampoo Tubs
          4 Apple Computers
          Hairdryers & curling wands (8-12 total)
          8 Wax Holders
          Laptop Computer                                                                 $0.00     Replacement                         $10,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $15,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


          47.1.



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

          48.1.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 5
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Debtor         Arch Cosmetics, Inc.                                                       Case number (If known)
               Name

49.        Aircraft and accessories


           49.1..



50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)




51.        Total of Part 8.
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:        Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used     Current value of
           property                              extent of              debtor's interest             for current value         debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.

           55.1.




56.        Total of Part 9.
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                page 6
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Debtor        Arch Cosmetics, Inc.                                                         Case number (If known)
              Name


      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of         Valuation method used        Current value of
                                                                          debtor's interest         for current value            debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.archapothecary.com [Inoperative -
           Closed]                                                                   Unknown        N/A                                     Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Electronic Mailing list of customers from all
           four (4) store locations                                                  Unknown        N/A                                     Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                   $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                                 Current value of
                                                                                                                                 debtor's interest


71.        Notes receivable
           Description (include name of obligor)

                                                                                     -                                       =
                                                                 Total face amount       doubtful or uncollectible amount



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                            page 7
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Debtor      Arch Cosmetics, Inc.                                                    Case number (If known)
            Name



                                                                                     Tax year



73.      Interests in insurance policies or annuities




74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)



         Nature of claim
         Amount requested



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim
         Amount requested



76.      Trusts, equitable or future interests in property




77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership




78.      Total of Part 11.
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                      page 8
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Debtor          Arch Cosmetics, Inc.                                                                                Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,592.95

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $301,971.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $15,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $318,563.95           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $318,563.95




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 9
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                                                               Document     Page 23 of 75
Fill in this information to identify the case:

Debtor name         Arch Cosmetics, Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Blackhawk Bank                               Describe debtor's property that is subject to a lien                     Unknown               $301,971.00
      Creditor's Name                              Physical Inventory [Skin care products, Hair
                                                   care products, Makeup products]; Office
      400 Broad Street                             Furniture; Office Equipment [Blanket Lien]
      Beloit, WI 53511
      Creditor's mailing address                   Describe the lien
                                                   Loan- Perfected UCC lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2012                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7958
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Small Business
      Administration
      2. Blackhawk Bank

      Small Business
2.2                                                                                                                     $149,597.00               $301,971.00
      Administration                               Describe debtor's property that is subject to a lien
      Creditor's Name                              Physical Inventory [Skin care products, Hair
                                                   care products, Makeup products]; Office
      409 Third Street SW                          Furniture; Office Equipment [Blanket Lien]
      Washington, DC 20416
      Creditor's mailing address                   Describe the lien
                                                   Loan- Perfected UCC lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2020                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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Debtor      Arch Cosmetics, Inc.                                                                  Case number (if known)
            Name

      XXX
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.1

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $149,597.00

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        Arch Cosmetics, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $250.00         $250.00
          Alex Stark                                          Check all that apply.
          705 Ottawa Trail                                       Contingent
          Madison, WI 53711                                      Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Customer Deposit
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $250.00         $250.00
          Alexa Cross                                         Check all that apply.
          1110 E Ogden Ave                                       Contingent
          Apt 112                                                Unliquidated
          Milwaukee, WI 53202                                    Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Customer Deposit
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 24
                                                                                                              21001
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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Alexa Rogge                                        Check all that apply.
         6203 Williamsburg Way                                 Contingent
         Apt 326                                               Unliquidated
         De Forest, WI 53532                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Ali Murwin                                         Check all that apply.
         6032 E Linden Pkwy                                    Contingent
         Mc Farland, WI 53558                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Alissa Dorman                                      Check all that apply.
         2712 N Farwell Avenue                                 Contingent
         Milwaukee, WI 53211                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Alisson Wessel                                     Check all that apply.
         2122 Sheffield Ct                                     Contingent
         Apt 2                                                 Unliquidated
         Freeport, IL 61032                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Dept
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 2 of 24
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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Allie Weiss                                        Check all that apply.
         1250 Linden Avenue                                    Contingent
         Highland Park, IL 60035                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Allison Trainor                                    Check all that apply.
         18 Vista Ridge Drive                                  Contingent
         Galena, IL 61036                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Allyson Arens                                      Check all that apply.
         W5095 N Osprey Drive                                  Contingent
         New Lisbon, WI 53950                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Alyssa Hoffman                                     Check all that apply.
         1255 S State St                                       Contingent
         Unit 804                                              Unliquidated
         Chicago, IL 60605                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 3 of 24
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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Amila Lagowski                                     Check all that apply.
         1001C Curtiss Street                                  Contingent
         Downers Grove, IL 60515                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Andi Sirokman                                      Check all that apply.
         2924 Harvey Street                                    Contingent
         Apt # 1A                                              Unliquidated
         Madison, WI 53705                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Andreanna Kinnart                                  Check all that apply.
         415 Snow Cole Hall                                    Contingent
         Madison, WI 53706                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Autumn Bach                                        Check all that apply.
         74 Trillium Ct                                        Contingent
         Madison, WI 53719                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 4 of 24
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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Brooke Behlmer                                     Check all that apply.
         100 E Chateau Place                                   Contingent
         Milwaukee, WI 53217                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Brooke Duescher                                    Check all that apply.
         201 Lavaca St                                         Contingent
         Apt 640                                               Unliquidated
         Austin, TX 78701                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Candace Dziubinski                                 Check all that apply.
         4444 S 66th St                                        Contingent
         Milwaukee, WI 53220                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposti
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Carly Capadona                                     Check all that apply.
         4606 N Leavitt Street                                 Contingent
         Chicago, IL 60625                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 5 of 24
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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Carolyn Lee                                        Check all that apply.
         2527 N Stowell Ave                                    Contingent
         Apt 5                                                 Unliquidated
         Milwaukee, WI 53211                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Casey Pieper                                       Check all that apply.
         8840 Market Street                                    Contingent
         Apt 123                                               Unliquidated
         Middleton, WI 53562                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Cassie Sperry                                      Check all that apply.
         2555 N Clark St                                       Contingent
         Apt 1001                                              Unliquidated
         Chicago, IL 60614                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Christina Wilson                                   Check all that apply.
         3603 Woodside Ave                                     Contingent
         Brookfield, IL 60513                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Claire Tipton                                      Check all that apply.
         1012 Marston Street                                   Contingent
         West Sacramento, CA 95605                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Courtney Severson                                  Check all that apply.
         725 W Freshwater Way                                  Contingent
         Apt 307                                               Unliquidated
         Milwaukee, WI 53204                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Dana Graves                                        Check all that apply.
         N38W32690 Edgewood Court                              Contingent
         Nashotah, WI 53058                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Elizabeth Grenfell                                 Check all that apply.
         9 Connor Court                                        Contingent
         Madison, WI 53718                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Elizabeth Trautz                                   Check all that apply.
         4509 Edina Blvd                                       Contingent
         Minneapolis, MN 55424                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Emily Egge                                         Check all that apply.
         1212 E Courtland Place                                Contingent
         Milwaukee, WI 53211                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Emma Brainard                                      Check all that apply.
         306 Glendola Ave NW                                   Contingent
         Warren, OH 44483                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Emma Lankey                                        Check all that apply.
         3513 DuPont Avenue South                              Contingent
         Apt 115                                               Unliquidated
         Minneapolis, MN 55408                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Emma Tascher                                       Check all that apply.
         2370 N 67th St                                        Contingent
         Milwaukee, WI 53213                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Emmeline Roth                                      Check all that apply.
         120 Garfield Avenue                                   Contingent
         Evansville, WI 53536                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Emmylou Hetland                                    Check all that apply.
         405 Hilldale Court                                    Contingent
         Madison, WI 53705                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Gaby Cronick                                       Check all that apply.
         788 Cedar Street                                      Contingent
         #5                                                    Unliquidated
         Saint Paul, MN 55103                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Gloria Sigala                                      Check all that apply.
         3821 Dunbury Lane                                     Contingent
         Rockford, IL 61101                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Haley Sullivan                                     Check all that apply.
         803 Division Street                                   Contingent
         Apt 923                                               Unliquidated
         Nashville, TN 37203                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Jacquelyn Staples                                  Check all that apply.
         306 Cambridge Drive                                   Contingent
         Grayslake, IL 60030                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Jamie Rentscher                                    Check all that apply.
         2984 Chapel Valley Rd                                 Contingent
         Apt 102                                               Unliquidated
         Madison, WI 53711                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Jamie Rosenbaum                                    Check all that apply.
         545 Cypress Point Ct                                  Contingent
         Deerfield, IL 60015                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Jennah Haney                                       Check all that apply.
         1222 Meadowlark Lane                                  Contingent
         Madison, WI 53716                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Jordan Schaefer                                    Check all that apply.
         141618 Laurenwood Circle                              Contingent
         Humble, TX 77396                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Julia Young                                        Check all that apply.
         810 West Princess Anne Road                           Contingent
         Apt 20                                                Unliquidated
         Norfolk, VA 23517                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Kasey Hermanson                                    Check all that apply.
         542 Woodview Drive                                    Contingent
         Sun Prairie, WI 53590                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Kayla Michler                                      Check all that apply.
         421 N High Point Rd                                   Contingent
         Madison, WI 53717                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Kayla Sallinger                                    Check all that apply.
         1217 N 62nd Street                                    Contingent
         Apt # 207                                             Unliquidated
         Milwaukee, WI 53213                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Kelley Elmer                                       Check all that apply.
         8370 Old Sauk Road                                    Contingent
         Middleton, WI 53562                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Kelsey Keithly                                     Check all that apply.
         439 Home Ave                                          Contingent
         Apt 2S                                                Unliquidated
         Oak Park, IL 60302                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Kelsey Mack                                        Check all that apply.
         N82W1341 Fond Du Lac                                  Contingent
         Menomonee Falls, WI 53051                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Kim Edwards                                        Check all that apply.
         2292 High Ridge Trail                                 Contingent
         Madison, WI 53713                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Laura Ruelle                                       Check all that apply.
         2819 Endive Drive                                     Contingent
         Madison, WI 53711                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Laura Vandermause                                  Check all that apply.
         4620 Turnberry Lake Drive                             Contingent
         Unit 301                                              Unliquidated
         Estero, FL 33928                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Libby Lueck                                        Check all that apply.
         N5128 8th Ave                                         Contingent
         Westfield, WI 53964                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Madelyn O'Gorman                                   Check all that apply.
         601 W Doty St                                         Contingent
         Apt 315                                               Unliquidated
         Madison, WI 53703                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Madilyn Sass                                       Check all that apply.
         1919 University Avenue                                Contingent
         Apt 2                                                 Unliquidated
         Madison, WI 53726                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.55     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Maggie Mueller                                     Check all that apply.
         8383 Muller Rd                                        Contingent
         Fall Creek, WI 54742                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.56     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Maggie Orlando                                     Check all that apply.
         724 Paris Avenue                                      Contingent
         Rockford, IL 61107                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.57     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Marnee Fuertes                                     Check all that apply.
         10201 Camden Lane                                     Contingent
         #1                                                    Unliquidated
         Bridgeview, IL 60455                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.58     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Melissa Gramza                                     Check all that apply.
         1418 Meadowbrook Blvd                                 Contingent
         Racine, WI 53405                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.59     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Melissa Massino                                    Check all that apply.
         1749 N Wells St                                       Contingent
         Atp # 1810                                            Unliquidated
         Chicago, IL 60614                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.60     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Meridith Zoltan                                    Check all that apply.
         331 W Wisconsin Avenue                                Contingent
         Milwaukee, WI 53203                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.61     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Michelle Goans                                     Check all that apply.
         3900 Gabrielle Lane                                   Contingent
         Aurora, IL 60598                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.62     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Mikaela Lietha                                     Check all that apply.
         436 W School St                                       Contingent
         Columbus, WI 53925                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.63     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Morgan Bock                                        Check all that apply.
         4701 Retana Drive                                     Contingent
         Madison, WI 53714                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.64     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Myranda Falls                                      Check all that apply.
         3201 Carefree Drive                                   Contingent
         Rockford, IL 61114                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.65     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Nicole Shelley                                     Check all that apply.
         1326 N High Point Road                                Contingent
         Middleton, WI 53562                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.66     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Nikki Ramsay                                       Check all that apply.
         410 N Timothy Lane                                    Contingent
         McHenry, IL 60050                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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            Name

2.67     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Nina Codell                                        Check all that apply.
         1749 Stonehedge Court                                 Contingent
         Wheeling, IL 60090                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.68     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Olivia Russo                                       Check all that apply.
         3101 Fish Hatchery Rd                                 Contingent
         Atp 214                                               Unliquidated
         Madison, WI 53713                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.69     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Paige Abbatacola                                   Check all that apply.
         415 S Livingston Street                               Contingent
         Madison, WI 53703                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.70     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Rachel Olk                                         Check all that apply.
         40 North Orchard Street                               Contingent
         Madison, WI 53715                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.71     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Ratchel Tatge                                      Check all that apply.
         2039 Winnebago Street                                 Contingent
         Madison, WI 53704                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.72     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Rebecca Ward                                       Check all that apply.
         2202 Woodside Drive                                   Contingent
         Cross Plains, WI 53528                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.73     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Sadie Minobe                                       Check all that apply.
         3714 Zwerg Drive                                      Contingent
         Madison, WI 53705                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.74     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Sarah Horner                                       Check all that apply.
         742 Bear Claw Way                                     Contingent
         #104                                                  Unliquidated
         Madison, WI 53717                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 19 of 24
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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.75     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Sarah Lent                                         Check all that apply.
         5126 Argus Lane                                       Contingent
         Madison, WI 53711                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.76     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Sarah Miller                                       Check all that apply.
         3301 N 96th St                                        Contingent
         Milwaukee, WI 53222                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.77     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Sarah Scheuer                                      Check all that apply.
         1916 W Timber Ridge Lane                              Contingent
         Apt 4207                                              Unliquidated
         Oak Creek, WI 53154                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.78     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Savannah Waller                                    Check all that apply.
         3136 S Milton Shopiere Rd                             Contingent
         Janesville, WI 53546                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 20 of 24
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Debtor      Arch Cosmetics, Inc.                                                                     Case number (if known)
            Name

2.79     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Sophia Colevas                                     Check all that apply.
         2213 University Ave                                   Contingent
         Apt C                                                 Unliquidated
         Madison, WI 53726                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.80     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Sydney Hanchett                                    Check all that apply.
         1986 Fays Lane                                        Contingent
         Sugar Grove, IL 60554                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.81     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Tara O'Byrne                                       Check all that apply.
         9109 W Hawthorne Ave                                  Contingent
         Milwaukee, WI 53226                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes


2.82     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $250.00   $250.00
         Tatum Regez                                        Check all that apply.
         588 Jennifer Circle                                   Contingent
         Mundelein, IL 60060                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Customer Deposit
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (7)
                                                               Yes




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Debtor        Arch Cosmetics, Inc.                                                                       Case number (if known)
              Name

2.83       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $250.00        $250.00
           Tayler Williams                                      Check all that apply.
           540 Moon Lake Drive                                     Contingent
           Apartment # 9                                           Unliquidated
           Rice Lake, WI 54868                                     Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Customer Deposit
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes


2.84       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $250.00        $250.00
           Taylor Molln                                         Check all that apply.
           183 N. Addison Ave                                      Contingent
           Apt 327                                                 Unliquidated
           Elmhurst, IL 60126                                      Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Customer Deposit
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes


2.85       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $250.00        $250.00
           Victoria Saber                                       Check all that apply.
           63 Wall Street                                          Contingent
           Apt 3504                                                Unliquidated
           New York, NY 10005                                      Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Customer Deposit
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes


2.86       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $250.00        $250.00
           Victoria Worcester                                   Check all that apply.
           510 West Main Street                                    Contingent
           Apt 408                                                 Unliquidated
           Madison, WI 53703                                       Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Customer Deposit
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (7)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 22 of 24
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Debtor      Arch Cosmetics, Inc.                                                            Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $73,466.00
         Chantecaille                                                 Contingent
         584 Broadway                                                 Unliquidated
         Suite 1111                                                   Disputed
         New York, NY 10012
                                                                   Basis for the claim:    Purchase of Inventory/Materials
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,400.00
         Cia Souleles                                                 Contingent
         1964 N Burling Street                                        Unliquidated
         Chicago, IL 60614                                            Disputed
         Date(s) debt was incurred 3/15/2023
                                                                   Basis for the claim:    Promissory Note [Unperfected]
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Courtney Metelmann                                           Contingent
         c/o Attorney Mohammed Badwan                                 Unliquidated
         Sulaiman Law Group, Ltd.
                                                                      Disputed
         2500 S Highland Avenue, Suite 200
         Lombard, IL 60148                                                        Civil Action - Americans with Disabilities Act
                                                                   Basis for the claim:

         Date(s) debt was incurred May 2023
                                                                   Complaint - Pending
         Last 4 digits of account number 2787                      Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Erin Patt                                                    Contingent
         1350 W Foster Avenue                                         Unliquidated
         Apt 1W
                                                                      Disputed
         Chicago, IL 60640
         Date(s) debt was incurred November 2022
                                                                   Basis for the claim:    Pending Ilinois Department of Human Rights Claim
         Last 4 digits of account number 1100                      Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,555.00
         Mila Moursi/Waldin LLC                                       Contingent
         6924 Canby Avenue                                            Unliquidated
         Suite 116                                                    Disputed
         Reseda, CA 91335
                                                                   Basis for the claim:    Purchase of Inventory/Materials
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $45,692.00
         Omorovicza Cosmetics                                         Contingent
         191 Woodport Road                                            Unliquidated
         Suite 7                                                      Disputed
         Sparta, NJ 07871
                                                                   Basis for the claim:    Purchase of Inventory/Materials
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $150,000.00
         Priscilla Pomaville                                          Contingent
         4902 E Palo Brea Lane                                        Unliquidated
         Cave Creek, AZ 85331                                         Disputed
         Date(s) debt was incurred July 1, 2020
                                                                   Basis for the claim:    Promissory Note [Unsecured]
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 23 of 24
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Debtor       Arch Cosmetics, Inc.                                                                   Case number (if known)
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $100,000.00
          Raymond Koons                                                        Contingent
          4902 E Palo Brea Lane                                                Unliquidated
          Cave Creek, AZ 85331                                                 Disputed
          Date(s) debt was incurred July 1, 2020
                                                                           Basis for the claim:    Promissory Note [Unsecured]
          Last 4 digits of account number
                                                                           Is the claim subject to offset?        No      Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       Wisconsin Dept of Consumer Protect
          Attn: Patrick Studenec                                                                    Line     2.86                                    1977
          2811 Agriculture Drive
                                                                                                           Not listed. Explain
          Madison, WI 53708


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                      21,500.00
5b. Total claims from Part 2                                                                           5b.    +     $                     373,113.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                        394,613.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 24 of 24
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Fill in this information to identify the case:

Debtor name       Arch Cosmetics, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Commercial Lease -
           lease is for and the nature of        Retail Store
           the debtor's interest                 [Milwaukee]

               State the term remaining          Expires August 2023                Riverview Lofts LLC
                                                                                    117 N Jefferson
           List the contract number of any                                          Suite 200
                 government contract                                                Milwaukee, WI 53202


2.2.       State what the contract or            Commercial Lease -
           lease is for and the nature of        Retail Store [Chicago
           the debtor's interest                 Location]

               State the term remaining          Expires October 31,
                                                 2023                               Ross Realty Management
           List the contract number of any                                          P.O. Box 10891
                 government contract                                                Chicago, IL 60654


2.3.       State what the contract or            Commercial Lease -
           lease is for and the nature of        Retail Store [Rockford
           the debtor's interest                 Location]

               State the term remaining          Expires December 31,
                                                 2027                               The Standard
           List the contract number of any                                          214 East State Street
                 government contract                                                Rockford, IL 61104




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Arch Cosmetics, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Betsy                       612 N. Calvin Park Blvd                                   Riverview Lofts LLC                D
          Branca-Hughes               Rockford, IL 61107                                                                           E/F
                                                                                                                                   G   2.1




   2.2    Brent Hughes                612 N. Calvin Park Blvd                                   Riverview Lofts LLC                D
                                      Rockford, IL 61107                                                                           E/F
                                                                                                                                   G   2.1




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Arch Cosmetics, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                              $603,811.86
      From 1/01/2023 to Filing Date                                                                Product Sales &
                                                                                                   Service Sales
                                                                                                   [Operation of
                                                                                          Other    Business]


      For prior year:                                                                     Operating a business                            $1,825,916.00
      From 1/01/2022 to 12/31/2022                                                                 Product Sales &
                                                                                                   Service Sales
                                                                                                   [Operation of
                                                                                          Other    Business]


      For year before that:                                                               Operating a business                            $2,014,474.00
      From 1/01/2021 to 12/31/2021                                                                 Product Sales &
                                                                                                   Service Sales
                                                                                                   [Operation of
                                                                                          Other    Business]

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor       Arch Cosmetics, Inc.                                                               Case number (if known)




          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Courtney Metelmann v. Arch               Civil Action -              U.S District Court - NDIL                     Pending
              Cosmetics, Inc.                          American with               (Eastern Div)                                 On appeal
              2012-CV-2787                             Disabilities Act            Everett McKinely Dirksen
                                                                                                                                 Concluded
                                                       claims                      U.S. Courthouse
                                                                                   219 South Dearborn Street
                                                                                   Chicago, IL 60604

      7.2.    In re: Erin Pat                          Illinois                    Illinois Department of                        Pending
              440-2023-01100                           Department of               Human Rights                                  On appeal
                                                       Human                       555 West Monroe Street
                                                                                                                                 Concluded
                                                       Rights/EEOC                 Suite 700
                                                       claim                       Chicago, IL 60661

      7.3.    Victoria Worcester v. Arch               Consumer                    Wisconsin Dept of                             Pending
              Cosmetics, Inc./Arch                     Complaint -                 Consumer Protection                           On appeal
              Apothecary                               Customer Deposit            2811 Agriculture Drive
                                                                                                                                 Concluded
              File # 141977                                                        53708


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8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
                the transfer?                                                                                                                      value
                Address
      11.1.     Barrick Switzer Long Balsley
                & Van Evera
                6833 Stalter Drive                       $17,162.00 Attorneys' Fees plus $338.00
                Rockford, IL 61108                       Filing Fee                                                    June 2023              $17,162.00

                Email or website address
                bslbv.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers             Total amount or
                                                                                                              were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
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    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange                was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     1359 N Wells St                                                                                     June 1, 2012 - June 5, 2023
                Chicago, IL 60610

      14.2.     23 S Pinckney Street                                                                                May 2014 - June 5, 2023
                Madison, WI 53703

      14.3.     117 N Jefferson Street                                                                              June 2018 - June 5, 2023
                Suite 200
                Milwaukee, WI 53202

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Benning Group, LLC                                                                                                 2011 - Present
                    Benning Group, LLC                                                                                                 [Primarily tax
                    6815 Weaver Road                                                                                                   preparation]
                    Suite 300
                    Rockford, IL 61114
      26a.2.        Dan Murphy                                                                                                         2011-Present
                    Forward Financial Consulting                                                                                       [Primarily monthly
                    6545 Erin Way                                                                                                      accounting
                    Roscoe, IL 61073                                                                                                   services]

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Benning Group, LLC                                                                                                 2011-Present
                    6815 Weaver Road
                    Suite 300
                    Rockford, IL 61114

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why




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      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Benning Group, LLC
                    6815 Weaver Road
                    Suite 300
                    Rockford, IL 61114
      26c.2.        Forward Financial Consulting
                    6545 Erin Way
                    Roscoe, IL 61073

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Benning Group, LLC
                    6815 Weaver Road
                    Suite 300
                    Rockford, IL 61114
      26d.2.        Forward Financial Consulting
                    6545 Erin Way
                    Roscoe, IL 61073

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Sheri Gladden
      .                                                                             April 30, 2023           $301,971.00 - "On Hand" Basis

               Name and address of the person who has possession of
               inventory records
               Debtor



      27.2 Sheri Gladden                                                            January 30,
      .                                                                             2023                     $358,374.00 - "On Hand" Basis

               Name and address of the person who has possession of
               inventory records
               Debtor



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Lindey Goodrich                         10118 Denali Trail                                  Secretary & Director                      38.08
                                              Soddy Daisy, TN 37379




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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      John Koehler, M.D.                     10338 Lewis Road                                    Director                                11.83
                                             Soddy Daisy, TN 37379

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Cia Souleles                           1964 N Burling Street                               Director                                N/A
                                             Chicago, IL 60614

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Thomas Souleles                        1964 N Burling Street                               Shareholder                             39.43
                                             Chicago, IL 60614

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Cera Fass                              2410 Van Hise Avenue                                Shareholder                             9.92
                                             Madison, WI 53726

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Raymond Koons                          4902 E Palo Brea Lane                               Shareholdere                            0.74
                                             Cave Creek, AZ 85331



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Sheri Gladden                          1185 Helford Lane                                   President/Chief                    October 17,
                                             Carmel, IN 46032                                    Executive Officer                  2022-June 15,
                                                                                                                                    2023
      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Cera Fass                              2410 Van Hise Avenue                                President/Director                 September 1, 2018
                                             Madison, WI 53726                                                                      -October 17, 2022
                                                                                                                                    (Director)
                                                                                                                                    January 23, 2020 -
                                                                                                                                    October 17, 2022
                                                                                                                                    (President)

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.




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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1                                                                                                                         Salary - President
      .    Cera Fass                                                                                                               [Paid in Ordinary
             2410 Van Hise Avenue                                                                                                  Course of
             Madison, WI 53726                         $50,150                                                   2022              Business]

             Relationship to debtor
             Former President


      30.2                                                                                                                         Salary plus Bonus
      .    Sheri Gladden                                                                                                           ($56,807.51 salary
             1185 Helford Lane                                                                                   2022- June        plus $2,500.00
             Carmel, IN 46032                          $59,307.51                                                2023              bonus)

             Relationship to debtor
             Former CEO/President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 29, 2023

/s/ Lindey Goodrich                                             Lindey Goodrich
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Secretary

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Arch Cosmetics, Inc.                                                                             Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 17,162.00
             Prior to the filing of this statement I have received                                        $                 13,157.41
             Balance Due                                                                                  $                     4,004.59

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):      $13,157.41 paid by Debtor; balance paid by Cia Souleles (Director), Dr. John
                                                           Koehler [Director/Shareholder] and Lindey Goodrich (Director/Shareholder)

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 N/A

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any judicial lien avoidances, relief from stay actions or any other adversary
              proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 29, 2023                                                            /s/ James E. Stevens
     Date                                                                     James E. Stevens 3128256
                                                                              Signature of Attorney
                                                                              Barrick, Switzer, Long, Balsley & Van Evera, LLP
                                                                              6833 Stalter Drive
                                                                              Rockford, IL 61108
                                                                              815-962-6611 Fax: 815-962-0687
                                                                              jstevens@bslbv.com
                                                                              Name of law firm
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                                       United States Bankruptcy Court
                                            Northern District of Illinois
In re   Arch Cosmetics, Inc.                                                    Case No.
                                                         Debtor(s)              Chapter    7




                                 VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                            102




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   June 29, 2023                         /s/ Lindey Goodrich
                                              Lindey Goodrich/Secretary
                                              Signer/Title
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                      Alex Stark
                      705 Ottawa Trail
                      Madison, WI 53711


                      Alexa Cross
                      1110 E Ogden Ave
                      Apt 112
                      Milwaukee, WI 53202


                      Alexa Rogge
                      6203 Williamsburg Way
                      Apt 326
                      De Forest, WI 53532


                      Ali Murwin
                      6032 E Linden Pkwy
                      Mc Farland, WI 53558


                      Alissa Dorman
                      2712 N Farwell Avenue
                      Milwaukee, WI 53211


                      Alisson Wessel
                      2122 Sheffield Ct
                      Apt 2
                      Freeport, IL 61032


                      Allie Weiss
                      1250 Linden Avenue
                      Highland Park, IL 60035


                      Allison Trainor
                      18 Vista Ridge Drive
                      Galena, IL 61036


                      Allyson Arens
                      W5095 N Osprey Drive
                      New Lisbon, WI 53950


                      Alyssa Hoffman
                      1255 S State St
                      Unit 804
                      Chicago, IL 60605
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                  Amila Lagowski
                  1001C Curtiss Street
                  Downers Grove, IL 60515


                  Andi Sirokman
                  2924 Harvey Street
                  Apt # 1A
                  Madison, WI 53705


                  Andreanna Kinnart
                  415 Snow Cole Hall
                  Madison, WI 53706


                  Autumn Bach
                  74 Trillium Ct
                  Madison, WI 53719


                  Betsy Branca-Hughes
                  612 N. Calvin Park Blvd
                  Rockford, IL 61107


                  Blackhawk Bank
                  400 Broad Street
                  Beloit, WI 53511


                  Brent Hughes
                  612 N. Calvin Park Blvd
                  Rockford, IL 61107


                  Brooke Behlmer
                  100 E Chateau Place
                  Milwaukee, WI 53217


                  Brooke Duescher
                  201 Lavaca St
                  Apt 640
                  Austin, TX 78701


                  Candace Dziubinski
                  4444 S 66th St
                  Milwaukee, WI 53220


                  Carly Capadona
                  4606 N Leavitt Street
                  Chicago, IL 60625
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                  Carolyn Lee
                  2527 N Stowell Ave
                  Apt 5
                  Milwaukee, WI 53211


                  Casey Pieper
                  8840 Market Street
                  Apt 123
                  Middleton, WI 53562


                  Cassie Sperry
                  2555 N Clark St
                  Apt 1001
                  Chicago, IL 60614


                  Chantecaille
                  584 Broadway
                  Suite 1111
                  New York, NY 10012


                  Christina Wilson
                  3603 Woodside Ave
                  Brookfield, IL 60513


                  Cia Souleles
                  1964 N Burling Street
                  Chicago, IL 60614


                  Claire Tipton
                  1012 Marston Street
                  West Sacramento, CA 95605


                  Courtney Metelmann
                  c/o Attorney Mohammed Badwan
                  Sulaiman Law Group, Ltd.
                  2500 S Highland Avenue, Suite 200
                  Lombard, IL 60148


                  Courtney Severson
                  725 W Freshwater Way
                  Apt 307
                  Milwaukee, WI 53204


                  Dana Graves
                  N38W32690 Edgewood Court
                  Nashotah, WI 53058
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                  Elizabeth Grenfell
                  9 Connor Court
                  Madison, WI 53718


                  Elizabeth Trautz
                  4509 Edina Blvd
                  Minneapolis, MN 55424


                  Emily Egge
                  1212 E Courtland Place
                  Milwaukee, WI 53211


                  Emma Brainard
                  306 Glendola Ave NW
                  Warren, OH 44483


                  Emma Lankey
                  3513 DuPont Avenue South
                  Apt 115
                  Minneapolis, MN 55408


                  Emma Tascher
                  2370 N 67th St
                  Milwaukee, WI 53213


                  Emmeline Roth
                  120 Garfield Avenue
                  Evansville, WI 53536


                  Emmylou Hetland
                  405 Hilldale Court
                  Madison, WI 53705


                  Erin Patt
                  1350 W Foster Avenue
                  Apt 1W
                  Chicago, IL 60640


                  Gaby Cronick
                  788 Cedar Street
                  #5
                  Saint Paul, MN 55103
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                  Gloria Sigala
                  3821 Dunbury Lane
                  Rockford, IL 61101


                  Haley Sullivan
                  803 Division Street
                  Apt 923
                  Nashville, TN 37203


                  Jacquelyn Staples
                  306 Cambridge Drive
                  Grayslake, IL 60030


                  Jamie Rentscher
                  2984 Chapel Valley Rd
                  Apt 102
                  Madison, WI 53711


                  Jamie Rosenbaum
                  545 Cypress Point Ct
                  Deerfield, IL 60015


                  Jennah Haney
                  1222 Meadowlark Lane
                  Madison, WI 53716


                  Jordan Schaefer
                  141618 Laurenwood Circle
                  Humble, TX 77396


                  Julia Young
                  810 West Princess Anne Road
                  Apt 20
                  Norfolk, VA 23517


                  Kasey Hermanson
                  542 Woodview Drive
                  Sun Prairie, WI 53590


                  Kayla Michler
                  421 N High Point Rd
                  Madison, WI 53717
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                  Kayla Sallinger
                  1217 N 62nd Street
                  Apt # 207
                  Milwaukee, WI 53213


                  Kelley Elmer
                  8370 Old Sauk Road
                  Middleton, WI 53562


                  Kelsey Keithly
                  439 Home Ave
                  Apt 2S
                  Oak Park, IL 60302


                  Kelsey Mack
                  N82W1341 Fond Du Lac
                  Menomonee Falls, WI 53051


                  Kim Edwards
                  2292 High Ridge Trail
                  Madison, WI 53713


                  Laura Ruelle
                  2819 Endive Drive
                  Madison, WI 53711


                  Laura Vandermause
                  4620 Turnberry Lake Drive
                  Unit 301
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                  Melissa Massino
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                  Atp # 1810
                  Chicago, IL 60614


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                  Milwaukee, WI 53203


                  Michelle Goans
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                  Mikaela Lietha
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                  Columbus, WI 53925


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                  Reseda, CA 91335


                  Morgan Bock
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                  Middleton, WI 53562


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                  Ratchel Tatge
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                  Madison, WI 53704


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                  Sarah Miller
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                  Savannah Waller
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                  Victoria Worcester
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                  Madison, WI 53708
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                                          United States Bankruptcy Court
                                               Northern District of Illinois
 In re   Arch Cosmetics, Inc.                                                       Case No.
                                                            Debtor(s)               Chapter       7




                                CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Arch Cosmetics, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 29, 2023                                  /s/ James E. Stevens
Date                                           James E. Stevens 3128256
                                               Signature of Attorney or Litigant
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